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           IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF PENNSYLVANIA
________________________________________________________________________

LEANDRA DIMATE CORTES,                          CIVIL DIVISION

       Plaintiff,
v.                                                        2:21-cv-539
                                                CASE NO.: ___________

ALLEGHENY COUNTY, PENNSYL-                      JURY TRIAL DEMANDED
VANIA,

       Defendant.


            COMPLAINT OF RACE, COLOR, AND NATIONAL ORIGIN
                  DISCRIMINATION AND RETALIATION

       LEANDRA DIMATE CORTES, by and through her legal counsel, Dennis M.
Moskal, Esq., and Henry Miller, III, Esq., files the following Complaint of Discrimina-
tion and Retaliation against Defendant, ALLEGHENY COUNTY, PENNSYLVANIA,
and avers as follows:
                                    The Parties
       1.      Plaintiff, LEANDRA DIMATE CORTES (hereinafter “Plaintiff”), is an
adult individual, who resides in Pittsburgh, Allegheny County, Pennsylvania.
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         2.      Defendant,        ALLEGHENY             COUNTY           (hereinafter      “Defendant-
Employer”), is a Pennsylvania County of the Second Class which operates the Allegheny
County Department of Economic Development.
         3.      At all times relevant hereto, Defendant-Employer acted or failed to act by
and through their duly authorized agents, servants and employees, who conducted them-
selves within the scope and course of their employment.
         4.      As a Latin-American immigrant from Colombia, now citizen, who has
spoken out against discrimination, Plaintiff is a member of multiple protected classes.
                                             Jurisdiction
         5.      This action is brought and jurisdiction lies pursuant to the Civil Rights Act
of 1964, 423 U.S.C. §§2000e, et seq., as amended by the Civil Rights Act of 1991, and
28 U.S.C. §451, 1331, 1343, and 1345, and upon the doctrine of pendent and/or supple-
mental jurisdiction over any state law claims pursuant to 28 U.S.C. §1367. 1
         6.      Plaintiff has satisfied all the procedural and administrative requirements
set forth in Title VII of the Civil Rights Act of 1964:
              a. Plaintiff filed timely charges of race, color and national origin discrimina-
                 tion and retaliation with the Equal Employment Opportunity Commission
                 (EEOC) and Pennsylvania Human Relations Commission (PHRC) (dual
                 filed) at Charge No. 533-2019-01805;
              b. Plaintiff received a Notice of Right to Sue from the EEOC regarding
                 Charge No. 533-2019-01805 on January 25, 2021 and this action was
                 commenced with this Court within 90 days of receipt of the Notices.
                                         Background Facts
         7.      On February 11, 2013, Plaintiff was hired as a Program Manager 2 for De-
fendant-Employer’s Department of Economic Development.                       She was paid an annual
salary of approximately $43,000.
         8.      Throughout her employment, Defendant-Employer paid Plaintiff less than
white employees who were less qualified than her.




1 The claims under the Pennsylvania Human Relations Act will be filed in the near future as part of an
amendment to the instant Complaint.


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        9.      While Plaintiff worked for Defendant-Employer, she was supervised by
Defendant-Employer’s previous Director of Economic Development, Bob Hurley; cur-
rent Director of Economic Development, Lance Chimka; Senior Deputy Director of Eco-
nomic Development, Jack Exler; Deputy Director of Economic Development, Pat Earley;
and Assistant Director of Economic Development, Lauren Byrne. Byrne managed Plain-
tiff on a daily basis.
        10.     During her first two years working for the county, Plaintiff’s immediate
supervisor was Lance Chimka, Division Manager. Additionally, the Director at the time
was Dennis Davin.        During this time period, Plaintiff did not experience any problems
overall nor did she submit any complaints of discrimination.
        11.     On or about September 7, 2018, Plaintiff filed Charge No. 533-2018-
02219 with the EEOC alleging that Hurley, Earley, and Byrne discriminated against her
because of her race, color, national origin and ethnicity. Specifically, she is a Latin Amer-
ican immigrant from Colombia.
        12.     Plaintiff has heard Byrne refer to her in a condescending tone of voice to
Robert Frank as “The Colombian.”
        13.     Hurley would regularly make negative comments about Plaintiff’s accent.
        14.     Plaintiff’s charge outlined the extreme pattern of antagonism that Defend-
ant-Employer’s management had shown towards her since at least 2016 when Byrne be-
came her manager.
        15.     Plaintiff had previously complained about Byrne’s discriminatory treat-
ment of her, and Byrne retaliated against her for doing so. After Plaintiff filed her charge
with the EEOC, Byrne’s retaliation escalated. She excluded Plaintiff from meetings and
training opportunities, berated her in front of staff, isolated her from her coworkers, and
tried to intimidate her.
        16.     As a result of the hostile work environment created by Byrne in retaliation
for her EEOC charge, Plaintiff was forced to complain to Human Resources about specif-
ic instances of Byrne’s retaliation on January 31, 2019, February 6, 2019, February 19,
2019, and February 26, 2019.




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        17.    On February 26, 2019, Plaintiff complained to Lindy Krajnak, the Human
Resources Manager for Defendant-Employer’s Department of Economic Development,
that Byrne was discriminating against her because of her accent and nationality.
              Byrne Responds to Complaints by Putting Plaintiff on a PIP
        18.    On March 8, 2019, Defendant-Employer responded to Plaintiff’s com-
plaints about her by putting Plaintiff on a Performance Improvement Plan (PIP) for al-
leged poor work performance and “unprofessional behavior in the workplace including
subjective allegations of disruptive and disrespectful behavior and actions towards the
manager and other co-workers. In fact, the alleged “unprofessional,” “disruptive,” and
“disrespectful” behaviors that Byrne alludes to in Plaintiff’s PIP are actually, to the con-
trary, numerous complaints of discrimination and retaliation.
        19.    During the March 8, 2019 meeting in which Plaintiff was placed on a PIP,
she asked Defendant-Employer’s Employee Relations Coordinator, Jeremy Beaver, about
the status of the investigation regarding her complaint to HR on February 26, 2019. Bea-
ver informed her that he had ‘completed’ the investigation and that she would receive a
response by March 11, 2019; however, Plaintiff never did receive a response.
        20.    The PIP required bi-weekly review meetings. On March 25, 2019, Plain-
tiff asked for the specific allegations of unprofessional conduct alleged in her PIP, and
Jack Exler, Senior Deputy Director of Economic Development, sent her home and sus-
pended her for allegedly being insubordinate or unprofessional.
        21.    On April 8, 2019, Exler again dismissed for the day without pay because
she asked more questions during a bi-weekly meeting. Exler then chased Plaintiff down
the hallway and told her to “leave, leave, leave.”
        22.    Two days later, on April 10, 2019, Beaver questioned Plaintiff about her
complaints of discrimination and retaliation and told her that he needed additional infor-
mation for his investigation, even though he previously told her that his investigation was
completed over a month before.
        23.    On April 10, 2019, Plaintiff wrote Beaver a letter stating that she did not
understand why he was suddenly asking her for information about the investigation into
her discrimination complaint against Byrne since Beaver himself informed her that the
investigation was over. Plaintiff further requested that Beaver send her the questions by


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email in order to reply since she has other deadlines and work to complete, and it was
easier to reply by email. Beaver never sent her a follow-up email.
        24.    In the letter to Beaver, Plaintiff again complained about Byrne’s discrimi-
natory treatment of her. She also expressed how she had informed Nichole Nagle and
other Human Resource representatives of her problems with Lauren Byrne, but her re-
ports were to no avail.
                             The Fix is in – Plaintiff is Axed
        25.    The next day, on April 11, 2019, Defendant-Employer suspended Plaintiff
indefinitely without pay. Additionally, on the very same day, Krajnak provided written
notice to Plaintiff by email at 10:35 a.m. of a Loudermill Hearing that would take place at
11:15 a.m., a mere forty minutes later.
        26.    Ultimately, Defendant-Employer fired her on April 22, 2019. This termi-
nation was approximately two months after Plaintiff’s February 26, 2019 complaint about
her supervisor and less than two weeks after her letter to Beaver.


COUNT I – RETALIATION IN VIOLATION OF TITLE VII OF CIVIL RIGHTS
                 ACT OF 1964, 42 U.S.C. §2000e-3(a)

        27.    Plaintiff incorporates paragraphs 1 through 26 herein as if fully set forth.
        28.    Defendant-Employer retaliated and/or discriminated against Plaintiff in
the terms, conditions and privileges of her employment because of Plaintiff’s opposition
to discrimination, for reporting it, and for her participation in and filing an EEOC Com-
plaint at Charge No. 533-2019-01805 and/or for otherwise speaking out on numerous oc-
casions about Byrne’s discriminatory treatment on the basis of her race, color, ethnicity
and national origin, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§2000e-3(a).
        29.    Plaintiff was subject to adverse employment action, including but not lim-
ited to a hostile and retaliatory work environment, ostracism, shunning, intimidation, ex-
clusion from opportunities available to white employees, a sham and poorly handled in-
vestigation, improperly being placed on a performance improvement plan, dismissing her
from work on March 25, 2019 and April 8, 2019, and an unwarranted termination in re-




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sponse and/or retaliation for her filing an EEOC charge and/or reporting and/or speaking
out against discrimination.
        30.    Defendant-Employer’s violation of Title VII was undertaken with malice
or reckless indifference to her federally protected right to not be discriminated and/or re-
taliated against because of her race, color, ethnicity and national origin and/or protected
activity.
        31.    As a direct and proximate result of Defendant-Employer’s unlawful, dis-
criminatory and retaliatory treatment of Plaintiff during her employment and at the time
of her termination, Plaintiff has suffered pecuniary losses including in the form of lost
pay, wages and benefits, overtime, holiday pay, clothing allowance, vacation, sick and
personal days, medical benefits, dental and vision benefits.
        32.    As a direct and proximate result of Defendant-Employer’s unlawful, dis-
criminatory and retaliatory treatment of Plaintiff during her employment and at the time
of her termination, Plaintiff has suffered emotional pain, suffering, inconvenience, mental
anguish, embarrassment, loss of enjoyment of life, trouble sleeping and other non-
pecuniary losses.


   COUNT II – RACE, COLOR, ETHNICITY AND NATIONAL ORIGIN DIS-
  CRIMINATION IN VIOLATION OF TITLE VII OF CIVIL RIGHTS ACT OF
                        1964, 42 U.S.C. §2000e

        33.    Plaintiff incorporates paragraphs 1 through 32 as if fully set forth herein.
        34.    Plaintiff, who is a Latin American woman born in Colombia is a member
of a protected class.
        35.    Defendant-Employer discriminated against Plaintiff in the terms, condi-
tions and privileges of her employment because of her race, color, ethnicity and national
origin, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e.
        36.    Plaintiff was subject to adverse employment action including a hostile and
retaliatory work environment, ostracism, shunning, intimidation, exclusion from opportu-
nities available to white employees, a sham and poorly handled investigation, being
placed on a performance improvement plan, dismissing her from work on March 25,
2019 and April 8, 2019, and an unwarranted termination.


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        37.      Defendant-Employer’s violation of the Civil Rights Act was undertaken
with malice or reckless indifference to her federally protected right to not be discriminat-
ed against because of her race, color, ethnicity and/or nationality.
        38.      As a direct and proximate result of Defendant-Employer’s unlawful, dis-
criminatory and retaliatory treatment of Plaintiff during her employment and at the time
of her termination, she has suffered pecuniary losses including in the form of lost pay,
wages and benefits, overtime, holiday pay, clothing allowance, vacation, sick and person-
al days, medical benefits, dental and vision benefits.
        39.      As a direct and proximate result of Defendant-Employer’s unlawful, dis-
criminatory and retaliatory treatment of Plaintiff during her employment and at the time
of her termination, she has suffered extreme emotional distress, depression, stress, anxie-
ty, emotional pain, suffering, inconvenience, mental anguish, embarrassment, humilia-
tion, loss of enjoyment of life, trouble sleeping and other non-pecuniary losses.
                                  PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully demands as follows:
              a. That the Court find that Defendant-Employer’s actions are unlawful and
                 in violation of the Civil Rights Act;
              b. That Defendant-Employer is required to compensate Plaintiff for any
                 wages, commissions, vacation pay and benefits owed, but not paid, at the
                 time of termination;
              c. That Defendant-Employer be ordered to reinstate Plaintiff contingent that
                 it can be done so she has no contact with the discriminating individuals
                 with a retroactive increase in pay effective from the date she was termi-
                 nated with all benefits incident thereto, including but not limited to wages,
                 benefits, training and seniority;
              d. That Defendant-Employer be required to compensate Plaintiff for the full
                 value of lost wages, both regular and overtime, salary, commissions, bo-
                 nuses, vacation pay and benefits she would have received from Defend-
                 ant-Employer had it not been for Defendant-Employer’s unlawful actions,
                 including any wages she would have received if not for her employer dis-
                 criminating and/or retaliating against her;


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   e. That Defendant-Employer be required to reimburse Plaintiff for lost pen-
      sion, social security, experience, training opportunities and other lost ben-
      efits from her termination date with Defendant-Employer up to the point
      of any new employment and all lost benefits continuing thereafter that any
      new employer does not provide as part of its compensation and benefits
      package;
   f. That Defendant-Employer be required to compensate Plaintiff for any
      front pay, including any future lost wages, commissions, and benefits,
      such as any pay differential for a certain reasonable period going forward
      due to any difference in wages and benefits between her past employment
      with Defendant-Employer and any future employer;
   g. That Defendant-Employer be required to reimburse Plaintiff for all ex-
      penses she incurred due to Defendant-Employer’s discriminatory treat-
      ment and unlawful termination of Plaintiff;
   h. That Defendant-Employer should pay Plaintiff compensation for the ex-
      treme emotional distress, depression, stress, anxiety, emotional pain, suf-
      fering, inconvenience, mental anguish, embarrassment, humiliation, loss
      of enjoyment of life, and other non-pecuniary losses that resulted from its
      improper discriminatory actions;
   i. That Plaintiff be awarded exemplary and/or punitive damages due to De-
      fendant-Employer’s clear discriminatory animus;
   j. That Plaintiff be awarded against Defendant-Employer the costs and ex-
      penses of this Court action and any further action, including all reasonable
      attorneys fee as provided by statutes;
   k. That a final judgment in favor of Plaintiff and against Defendant-
      Employer be entered for liquidated damages;
   l. That Defendant-Employer be enjoined from discriminating against Plain-
      tiff in any manner that violates her civil rights;
   m. That Plaintiff is granted such further legal and equitable relief as the Court
      may deem just and proper; and




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   n. That Defendant-Employer is required to reimburse Plaintiff for any lost
      pension, social security, experience, training opportunities and other lost
      benefits from its discriminatory treatment and/or its unlawful termination.


             A JURY TRIAL IS DEMANDED.




                                    Respectfully submitted,


                                   /s/Dennis M. Moskal
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                                   PA I.D. # 80106
                                   Attorney for Plaintiffs

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